            Case 2:17-cv-02069-MMB Document 51 Filed 02/13/20 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ROBERT WARD, on behalf of himself and all                                  CIVIL ACTION
   others similarly situated
                                                                              NO. 17-2069
                           v.

   FLAGSHIP CREDIT ACCEPTANCE LLC

 ORDER RE: MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

          AND NOW, this 13th day of February, 2020, upon consideration of Plaintiff’s Motion for

Final Approval of Class Action Settlement (ECF 25) and Plaintiff’s Motion for An Award of

Attorneys’ Fees and Expenses and an Incentive Award to the Named Plaintiff (ECF 26), oral

argument, and for the reasons discussed in the foregoing Memorandum, it is hereby ORDERED

that the Plaintiff’s Motions are DENIED.



                                                              BY THIS COURT:

                                                              s/ Michael M. Baylson
                                                              ______________________________
                                                              MICHAEL M. BAYLSON
                                                              United States District Court Judge


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Case 2:17-cv-02069-MMB Document 51 Filed 02/13/20 Page 2 of 2
